             Case 3:18-cv-00194-LPR Document 17 Filed 10/28/19 Page 1 of 5




                  IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                          JONESBORO DIVISION

ELIZABETH ELLSWORTH                                                                  PLAINTIFF

v.                                      3:18-cv-194-DPM

PUMPKIN HOLLOW, LLC                                                              DEFENDANT

                    AMENDED FINAL SCHEDULING ORDER

Pursuant to Federal Rule of Civil Procedure 16(b), the Court orders:

     !        Deadline to request any
              pleading amendment....................................................... PASSED

     !        Plaintiffs shall identify all
              expert witnesses and produce
              their opinions by .............................................................. PASSED

     !        Joint status report due ................................................. 7 May 2020

     !        Defendants shall identify all
              expert witnesses and produce
              their opinions by .......................................................... 8 June 2020

     !        Plaintiff shall identify any rebuttal
              expert witnesses and produce
              their opinions by ........................................................ 23 June 2020

     !        Discovery cutoff ............................................................ 7 July 2020

     !        Dispositive and Daubert motions due1 ................. 7 August 2020



         1   Note and follow the procedure specified infra.
           Case 3:18-cv-00194-LPR Document 17 Filed 10/28/19 Page 2 of 5



   !        Joint status report, including
            settlement conference request, due ...................... 7 August 2020

   !        Deposition designations exchanged2................... 6 October 2020

   !        Motions in limine due ......................................... 22 October 2020

   !        Local Rule 26.2 pre-trial
            disclosure sheets due ........................................ 5 November 2020

   !        Joint report on deposition designation
            disputes (if any) ................................................. 5 November 2020

   !        Trial briefs due .................................................. 5 November 2020

   !        Jury Instructions (agreed or disputed) due ... 5 November 2020

   !        Jury Trial, Jonesboro Courtroom 324 .............. 7 December 2020

   !        Protective Orders. Before filing a motion for approval,
            counsel should email a draft order in WordPerfect or Word to
            chambers for review. Alert the law clerk on the case to the
            draft=s submission. Avoid legalese. Short, plain orders are
            better than long, complicated ones. Incorporate Fed. R. Civ.
            P. 5.2's mandate for redaction if practicable before any filing
            under seal. The order should remain in effect no longer than
            one year after litigation ends, not in perpetuity. Incorporate
            the procedure for discovery disputes, see infra, to cover
            disputes about whether a document is confidential.

   !        Discovery Disputes. Counsel should confer in good faith in
            person before bringing any discovery dispute to the Court. Do
            not file motions to compel. Do not file a motion to quash or
            for protective order unless there is an emergency. If the

       2   Note and follow the procedure specified infra.


January 2019                                  -2-
        Case 3:18-cv-00194-LPR Document 17 Filed 10/28/19 Page 3 of 5



         parties reach a discovery impasse, they should file a joint report
         explaining the disagreement.        File this paper under the
         CM/ECF event called AJoint Report of Discovery Dispute@.
         Your joint report must not exceed ten pages, excluding the style
         and signature block. Each side gets five pages. Do not file a
         motion asking for more pages. Use double spacing and avoid
         footnotes.    Attach documents (such as disputed written
         discovery or responses) as needed. Redact any attachments
         as required by Federal Rule of Civil Procedure 5.2 to protect
         confidential information. File the joint report sufficiently
         before the discovery cutoff so that the dispute can be resolved,
         and any additional discovery completed, without undermining
         other pretrial deadlines. The Court will rule or schedule a
         hearing. Alert the law clerk on the case to the joint report=s
         filing. If a dispute arises during a deposition, call chambers
         so the Judge can rule during the deposition.

   !     Summary Judgment. Motions must comply with Federal
         Rule of Civil Procedure 56 and Local Rules 7.2 and 56.1. Make
         the complete condensed transcript of any deposition cited an
         exhibit. Limit your Rule 56.1 statements to material facts.
         Include a specific supporting record citation for each fact
         asserted. Responding statements of fact must repeat the
         statement being responded toClike a discovery response.
         Include a specific supporting record citation for each fact
         disputed or asserted in the responding statement. A party=s
         substantial failure to follow these procedures will result in the
         party having to correct its filing. If the summary judgment
         papers are voluminous, the Court would appreciate the parties
         sending a courtesy paper copy to chambers. Any movant
         may reply within seven calendar days of a response to a motion
         for summary judgment.

   !     Deposition Designations. The Court strongly encourages
         the parties to use live testimony, rather than testimony by
         deposition, at trial. If the parties nonetheless need to use

January 2019                         -3-
        Case 3:18-cv-00194-LPR Document 17 Filed 10/28/19 Page 4 of 5



         deposition testimony, then they must use the following
         procedure.      Thirty days before Local Rule 26.2 pre-trial
         disclosure sheets are due, the parties should exchange
         deposition designations. As soon as practicable thereafter,
         counsel must meet and confer in person. They should try
         hard to agree on what deposition testimony will be presented
         at trial and resolve any objections. If any dispute or objection
         remains unresolved, then the parties should file a joint report
         explaining the dispute on the same date pre-trial disclosure
         sheets are due. The parties must certify that they met and
         conferred in person but failed to resolve the disputed issue.
         The parties should also deliver to chambers a paper copy of the
         entire transcript of any deposition involved in any dispute.

   !     Jury Instructions. The Court will use its own introductory
         and general instructions.        The parties should submit
         proposed instructions only on elements and anything unusual
         and proposed verdict forms. The Court strongly encourages
         the parties to confer and agree on these instructions and forms.
         The parties should also submit an agreed proposed statement
         of the case. Note authority on the bottom of each proposed
         instruction.    Please explain the reason for any disputed
         instructions in your submission. Send agreed and disputed
         instructions      in     WordPerfect        or     Word       to
         dpmchambers@ared.uscourts.gov. Alert the law clerk on the
         case that you have submitted the instructions.

   !     Exhibits. The Court strongly encourages the parties to agree
         on as many of the exhibits as possible. Deliver the original
         exhibits, and one copy, in three-ring binders to the Courtroom
         Deputy on the Wednesday before trial starts. Please also
         include an electronic copy, plus (on the Court’s forms) the
         exhibit and witness lists.

   !     Courtroom Technology.     Before any pretrial, and as soon as
         practicable before any hearing, counsel should contact the

January 2019                         -4-
        Case 3:18-cv-00194-LPR Document 17 Filed 10/28/19 Page 5 of 5



         courtroom deputy about technology needs.          She will
         coordinate with the Court’s IT department. Any plan for use
         of non-Court technology must be approved by the IT
         department.

   !     Pre-Trial Hearing. It will be set by separate notice. We will
         address motions in limine, deposition excerpts for use at trial,
         jury instructions, trial architecture, exhibits, and voir dire.

   !     Conflicts Of Interest. Counsel must check the Court's recusal
         list on file in the U.S. District Clerk's Office to determine
         whether there is any conflict that might require recusal. If any
         party is a subsidiary or affiliate of any company in which the
         Court has a financial interest, counsel should bring that fact to
         the Court's attention immediately.

     Please communicate with Sherri Black, Courtroom Deputy, by e-
mail at sherri_black@ared.uscourts.gov to check your position on the
calendar as the trial date approaches. In the event of settlement,
advise Sherri Black immediately.


                                AT THE DIRECTION OF THE COURT
                                JAMES W. McCORMACK, CLERK

                                By: Sherri Black
                                    Courtroom Deputy to
                                    Judge D. P. Marshall Jr.

                                      28 October 2019




January 2019                         -5-
